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                                                    1   Jeffrey D. Cawdrey (SBN: 120488)
                                                        Megan M. Adeyemo (CO BN: 36271)(Pro Hac Vice)
                                                    2   GORDON & REES LLP                                              FILED & ENTERED
                                                        101 W. Broadway
                                                    3
                                                        Suite 2000
                                                    4   San Diego, CA 92101                                                  AUG 19 2015
                                                        Telephone: (619) 696-6700
                                                    5   Facsimile: (619) 696-7124                                       CLERK U.S. BANKRUPTCY COURT
                                                                                                                        Central District of California
                                                                                                                        BY bailey     DEPUTY CLERK
                                                    6   Attorneys for Debtor
                                                        S.T. Moll, Inc. d/b/a Integrity Tire
                                                    7

                                                    8
                                                                                  UNITED STATES BANKRUPTCY COURT
                                                    9
                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                   10
                                                                                               RIVERSIDE DIVISION
                                                   11
                    101 W. Broadway, Suite 2000




                                                        In re:                            )               CASE NO. 6:14-BK-12175-MJ
                       San Diego, CA 92101




                                                   12                                     )
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                                                                                          )               Chapter 11
                                                   13                                     )
                                                                                          )               ORDER CONFIRMING AMENDED
                                                   14   S.T. MOLL, INC.,                                  PLAN OF REORGANIZATION
                                                        D/B/A INTEGRITY TIRE AUTO SERVICE )               PROPOSED BY DEBTOR
                                                   15   CENTER,                           )
                                                                                          )               Date: July 29, 2015
                                                   16                                     )               Time: 1:30 p.m.
                                                                                          )               Courtroom: 301
                                                   17                                     )               Judge: Meredith A. Jury
                                                                              Debtor.
                                                                                          )
                                                   18
                                                                                          )
                                                   19

                                                   20            On July 29, 2015, this Court, the Honorable Meredith A. Jury presiding, held a hearing

                                                   21   (the “Confirmation Hearing”) to address confirmation of Debtor and Debtor-in-possession S.T.

                                                   22   MOLL, INC.’s (“Debtor”) Amended Plan of Reorganization Proposed by Debtor [Docket No.

                                                   23   264] (the “Plan”). Debtor appeared by and through its counsel, Gordon & Rees LLP, by Jeffrey

                                                   24   D. Cawdrey. Other appearances were as noted on the record.

                                                   25            The Court, having reviewed and considered all papers, pleadings and evidence in support

                                                   26   thereof, including the following in connection with the confirmation of the Plan: (a) the Plan, (b)

                                                   27   Second Amended Disclosure Statement for Plan of Reorganization Proposed by Debtor [Docket

                                                   28   No. 263] (the “Disclosure Statement”), (c) the proofs of service of the notice of confirmation

                                                                                                       -1-
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                                                    1   hearing, ballots, Plan and Disclosure Statement, (d) the Court’s Order on Debtor’s Motion for

                                                    2   Order: (1) Approving Amended Disclosure Statement, (2) Fixing Deadlines Relating to Plan

                                                    3   Confirmation and (3) Approving Form of Ballot and Notice [Docket No. 269] (the “Solicitation

                                                    4   Order”), (e) Memorandum of Points and Authorities in Support of Plan Confirmation [Docket

                                                    5   No. 279] (the “Confirmation Brief”), (f) Declaration of Steven W. Moll in Support of Plan

                                                    6   Confirmation [Docket No. 280], (g) Supplement to Debtor’s Memorandum of Points and

                                                    7   Authorities in Support of Plan Confirmation [Docket No. 282], (h) Declaration of Megan M.

                                                    8   Adeyemo in Support of Plan Confirmation [Docket No. 283], (i) Supplemental Declaration of

                                                    9   Steven W. Moll in Support of Plan Confirmation [Docket No. 284], (j) Plan Ballot Summary

                                                   10   [Docket No. 277] , (k) Debtor’s Submission of Acceptances and Rejections to Plan and

                                                   11   Statement of Estimated Costs of Administration of Confirmed Plan [Docket No. 278], (l)
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                                                   12   Stipulated Amendment to Amended Plan of Reorganization Proposed by Debtor (the
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                                                   13   “Amendment”), (m) the record compiled in Debtor’s Chapter 11 case (the “Case”) and all

                                                   14   pleadings filed with respect thereto, and (n) the facts and circumstances of this case, having

                                                   15   heard argument of counsel, having determined, after hearing on proper and appropriate notice,

                                                   16   that the requirements for confirmation of the Plan set forth in 11 U.S.C. § 1129 have been

                                                   17   satisfied, being fully advised in the premises and based on the foregoing and the findings of fact

                                                   18   and conclusions of law entered in connection herewith, and good cause appearing,
                                                   19            FINDS THAT:

                                                   20            1.    The provisions of Chapter 11 of the Code have been complied with; that the Plan

                                                   21   has been proposed in good faith and not by any means forbidden by law;

                                                   22            2.    All payments made or promised by Debtor or by a person issuing securities or

                                                   23   acquiring property under the Plan or by any other person for services or for costs and expenses in

                                                   24   connection with the Plan and incident to the case, have been fully disclosed to the Court and are

                                                   25   reasonable or, if to fixed after confirmation of the Plan, will be subject to the approval of the

                                                   26   Court;
                                                   27            3.    Debtor has disclosed the identity and affiliations of any individual proposed to
                                                   28   serve, after confirmation of the Plan, as the directors or officers of Debtor or as successor to

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                                                    1   Debtor under the Plan is consistent with the interests of creditors and other parties in interest, and

                                                    2   with public policy;

                                                    3          4.        With respect to each impaired class of claims or interests, each holder of a claim

                                                    4   or interest of such class has (a) accepted the Plan or (b) will receive on account of such claim

                                                    5   property of a value that is not less than what the holder would receive if Debtor was liquidated

                                                    6   under Chapter 7;

                                                    7          5.        With respect to each class of claims or interests (a) such class has accepted the

                                                    8   Plan, (b) such class is not impaired under the Plan or (c) the Plan does not discriminate unfairly,

                                                    9   and is fair and equitable with respect to such class of claims or interests, as provided in 11 U.S.C.

                                                   10   §§ 1129(b)(1) and (2)(C);

                                                   11          6.        The Plan otherwise meets the requirements for confirmation specified under 11
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                                                   12   U.S.C. § 1129.
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                                                   13          IT IS THEREFORE ORDERED AS FOLLOWS:

                                                   14          A.        Plan Confirmed
                                                   15
                                                               The Plan, as modified by the Amendment, is confirmed. Any objections to the Plan,
                                                   16
                                                        whether formal or informal, written or oral, unless previously withdrawn or resolved, are
                                                   17
                                                        overruled.
                                                   18
                                                               B.        Authority to Implement Plan
                                                   19
                                                               Upon entry of this Order, all matters provided under the Plan shall be deemed to be
                                                   20
                                                        authorized and approved without further approval of the Court. Debtor is authorized, without
                                                   21
                                                        further application to or order of the Bankruptcy Court, to take whatever action is necessary to
                                                   22
                                                        achieve consummation and carry out the Plan. Upon the Effective Date, all transactions and
                                                   23
                                                        applicable matters provided for under the Plan will be deemed to be authorized and approved by
                                                   24
                                                        Debtor without any requirement of further action by the Court or Debtor.
                                                   25
                                                               C.        The Effective Date
                                                   26
                                                               The Effective Date of the Plan shall be the later of the first business day thirty days after
                                                   27
                                                        this order becomes a final order or September 30, 2015.
                                                   28

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                                                    1           D.     Notice of Effective Date

                                                    2           As soon as practicable after the Effective Date, but not later than twenty days thereafter,
                                                    3   Debtor shall file and serve on all creditors and parties in interest a written notice of the Effective
                                                    4   Date.
                                                    5           E.     Preservation of Rights of Action and Defenses
                                                    6
                                                                Except as otherwise set forth in the Plan, Debtor shall retain all rights to commence and
                                                    7
                                                        pursue, as appropriate, in any court or other tribunal including, without limitation, in an
                                                    8
                                                        adversary proceeding filed in the Case, any and all Causes of Action, whether such Causes of
                                                    9
                                                        Action accrued before or after the Petition Date. The failure to list any unknown Causes of
                                                   10
                                                        Action in the Plan or Disclosure Statement does not limit the rights of the Debtor to pursue any
                                                   11
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                                                        unknown Cause of Action.
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                                                   12
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                                                                Unless a Claim or Cause of Action against a Person is expressly waived, relinquished,
                                                   13
                                                        released, compromised or settled in the Plan or any final order, Debtor expressly reserves such
                                                   14
                                                        Claim or cause of action for later adjudication by the Debtor, including, without limitation,
                                                   15
                                                        unknown causes of action, and therefore, no preclusion doctrine, including, without limitation,
                                                   16
                                                        the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, waiver,
                                                   17
                                                        estoppel (judicial, equitable or otherwise) or laches shall apply to such Claims or causes of action
                                                   18
                                                        upon or after the Confirmation Date or Effective Date based on the Disclosure Statement, the
                                                   19
                                                        Plan or this Order, except where such Claims or Causes of Action have been released in the Plan
                                                   20
                                                        or other Final Order.
                                                   21
                                                                F.     Deadline for Objections to Claims
                                                   22
                                                                Debtor will file and serve all objection to Claims upon the Holder of the Claim as to
                                                   23
                                                        which the objection is made no later than 180 days after the Effective Date, provided, however,
                                                   24
                                                        that nothing herein will reduce the time permitted under applicable statutes of limitation for
                                                   25
                                                        bringing any affirmative Causes of Action that the Debtor may assert against any third party.
                                                   26
                                                        The Claim Objection Deadline may be extended only by an order of the Bankruptcy Court.
                                                   27
                                                   28           G.     Deadline for Filing Administrative Claims

                                                                                                        -4-
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                                                    1
                                                                Entities holding Administrative Claims, including professionals, must file with the Court
                                                    2
                                                        and serve on Debtor and counsel for Debtor, an application for allowance of such Administrative
                                                    3
                                                        Claim on or before the 60th day following the Effective Date. Persons holding Administrative
                                                    4
                                                        Claims who do not timely file and serve an application for allowance of their Administrative
                                                    5
                                                        Claim will be forever barred from asserting those Administrative Claims against Debtor, the
                                                    6
                                                        estate or the property of the Debtor, unless otherwise ordered by the Bankruptcy Court.
                                                    7
                                                                H.      Assumption of Executory Contracts
                                                    8
                                                                The executory contracts assumed through the Plan are deemed to be assumed as of the
                                                    9
                                                        date of this Order.
                                                   10
                                                                I.      Rejection of Contracts and Leases and Rejection Damages Bar Date
                                                   11
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                                                   12           Each executory contract or unexpired lease of Debtor that (i) is not assumed through the
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                                                   13   Plan, (ii) has not expired by its own terms before the Effective Date, and (iii) previously has not

                                                   14   been assumed or rejected by Debtor, is rejected as of the Effective Date pursuant to § 365 of the

                                                   15   Bankruptcy Code.

                                                   16           If the rejection of an executory contract or unexpired lease pursuant to the Plan and this

                                                   17   Order gives rise to a Claim by the other party or parties to such contract or lease, such Claim

                                                   18   shall be forever barred and shall not be enforceable against Debtor, the Estate or the Debtor

                                                   19   unless a proof of Claim is filed and served on Debtor as the case may be, and its counsel within

                                                   20   thirty (30) days after the entry of this Order.

                                                   21           J.      Notice of Rejection Bar Date

                                                   22           As soon as practicable after the entry of this Order, but no later than fourteen (14) days
                                                   23   thereafter, Debtor shall file and serve on each non-Debtor counterparty to a contract or lease the
                                                   24   rejection of which is approved by this Order a written notice of the bar date for rejection Claims.
                                                   25           K.      Discharge
                                                   26           Debtor is released from all dischargeable debts. The discharge (a) voids any judgment at
                                                   27   any time obtained, to the extent that such judgment is a determination of the liability of Debtor
                                                   28   with respect to any debt discharged under 11 U.S.C. § 1141, whether or not discharge of such
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                                                    1   debt is waived; and (b) operates as an injunction against the commencement or continuation of

                                                    2   any action, the employment of process, or any act, to collect, recover or offset such debt as a

                                                    3   liability of Debtor, or from property of Debtor, whether or not discharge of such debt has been

                                                    4   waived,

                                                    5          L.      Injunction

                                                    6          The Plan is the sole means for resolving, paying or otherwise dealing with Claims. To
                                                    7   that end, except as expressly provided in the Plan, at all times on and after the Effective Date, all
                                                    8   Persons who have been, are or may be Holders of Claims against Debtor arising prior to the
                                                    9   Effective Date will be permanently enjoined from taking any of the following actions on account
                                                   10   of any such Claim against Debtor, the Estate or their respective property (other than actions
                                                   11
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                                                        brought to enforce any rights or obligations under the Plan):
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                                                   12
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                                                               i.      commencing, conducting or continuing in any manner, directly or indirectly any
                                                   13
                                                                       suit, action or other proceeding of any kind against Debtor, the Estate, their
                                                   14                  successors, or their respective property or assets (including, without limitation, all
                                                                       suits, actions and proceedings that are pending as of the Effective Date which will
                                                   15                  be deemed to be withdrawn or dismissed with prejudice);
                                                   16          ii.     enforcing, levying, attaching, executing, collecting, or otherwise recovering by
                                                                       any manner or means whether directly or indirectly any judgment, award, decree
                                                   17
                                                                       or order against Debtor, the Estate, their successors, or their respective property or
                                                   18                  assets; and

                                                   19          iii.    creating, perfecting or otherwise enforcing in any manner, directly or indirectly,
                                                                       any lien, security interest or encumbrance against Debtor, the Estate, their
                                                   20                  successors or their respective property or assets; and
                                                   21
                                                               iv.     proceeding in any manner in any place whatsoever against Debtor, the Estate or
                                                   22                  their successors, or their respective property or assets that does not conform to or
                                                                       comply with the provisions of the Plan.
                                                   23
                                                               Nothing in the Plan or this Order shall enjoin or act to enjoin Debtor from pursuing any
                                                   24
                                                        claim, right or Cause of Action preserved under the terms of the Plan as set forth herein.
                                                   25

                                                   26          M.      Remedy in Event of Default Under the Plan
                                                   27
                                                   28

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                                                    1          If there is a material default at any time during the term of the Plan by the Debtor in the

                                                    2   performance of any of the duties or obligations of the Debtor under the Plan, any Holder of a

                                                    3   Claim that is damaged by such failure may pursue its remedies before this Court.

                                                    4
                                                               N.      Binding Effect of Confirmed Plan
                                                    5
                                                               The Plan and all rights, duties and obligations thereunder shall be binding on and inure to
                                                    6
                                                        the benefit of Debtor and its respective successors and assigns.
                                                    7
                                                               O.      Transfer of Claims
                                                    8

                                                    9          Nothing in the Plan affects the rights of a Holder of a Claim to transfer that Claim before

                                                   10   or after the Effective Date.

                                                   11          P.      Post-Confirmation Conversion or Dismissal
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                                                   12          If the Court orders the Case converted to Chapter 7 after the Plan is confirmed, then all
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                                                   13   property that had been property of the Estate, and that has not been disbursed pursuant to the
                                                   14   Plan, will vest in the chapter 7 estate, and the automatic stay will be reimposed upon such vested
                                                   15   property only to the extent that relief from stay was not previously granted by the Court during
                                                   16   this Case.
                                                   17          Q.      Effect of Any Vacation or Revocation of the Confirmation Order
                                                   18          If this Order is vacated, the Plan shall be null and void in all respect and nothing
                                                   19   contained in the Plan or the Disclosure Statement shall (i) constitute a waiver or release of any
                                                   20   Claims against, or any interest, the Debtor or any claim by, or right of, the Debtor, Estate, or
                                                   21   Reorganized Debtor; or (iii) constitute an admission, acknowledgment, offer or undertaking by
                                                   22   Debtor, Estate or the Reorganized Debtor in any respect.
                                                   23          R.      Retention of Jurisdiction
                                                   24
                                                               After entry of this Order and the Effective Date, the Court will retain such jurisdiction as
                                                   25
                                                        is legally permissible, including for the following purposes:
                                                   26
                                                   27          i.      To resolve any and all disputes regarding the operation and interpretation of the
                                                                       Plan or this Order;
                                                   28

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                                                    1         ii.     To determine the allowability, classification or priority of any Claim or interest,
                                                                      based on any object by Debtor or by other parties in interest with standing to
                                                    2                 bring such objection or proceeding;
                                                    3
                                                              iii.    To determine the extent, validity and priority of any lien asserted against property
                                                    4                 of the Debtor or property of the Estate;

                                                    5         iv.     To construe and take any action to (a) enforce and execute the Plan, this Order
                                                                      and any other order of this Court; (b) issue such orders as may be necessary for
                                                    6                 the implementation, execution, performance, and consummation of the Plan, the
                                                                      Order and all matters referred to in the Plan and this Order and (c) determine all
                                                    7
                                                                      matters that may be pending before the Court in this Case on or before the
                                                    8                 Effective Date with respect to any person;

                                                    9         v.      To determine any and all applications for allowance of compensation and
                                                                      reimbursement of expenses of holders of Administrative Claims, including
                                                   10                 professionals for periods on or before the Effective Date;
                                                   11
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                                                              vi.     To resolve any dispute regarding the implementation, execution, performance,
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                                                   12                 consummation or interpretation of the Plan or this Order;
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                                                   13         vii.    To determine motions for the rejection, assumption or assignment of executor
                                                                      contracts or unexpired leases and the allowance of any Claims resulting
                                                   14                 therefrom;
                                                   15
                                                              viii.   To adjudicate all adversary proceedings and contested matters, if any, initiated by
                                                   16                 the Debtor to pursue retained causes of action;

                                                   17         ix.     To determine all applications, motions, adversary proceedings, contested matters,
                                                                      and any other litigated matters commenced during the Case whether before, on or
                                                   18                 after the Effective Date;
                                                   19
                                                              x.      To determine such other matters and for such other purposes as may be provided
                                                   20                 in this Order;

                                                   21         xi.     To modify the Plan under § 1127 of the Bankruptcy Code in order to remedy any
                                                                      apparent defect or omission in the Plan or to reconcile any inconsistency in the
                                                   22
                                                                      Plan so as to carry out its intents and purposes;
                                                   23
                                                              xii.    To issue injunctions or take such other actions or issue such other orders as may
                                                   24                 be necessary or appropriate to restrain interference with the Plan or the
                                                                      Confirmation Order or their implementation by any person or entity;
                                                   25
                                                              xiii.   To issue such orders as may be appropriate in the event that this Order is, for any
                                                   26
                                                                      reason, stayed, revoked, modified, reversed or vacated; and
                                                   27
                                                              xiv.    To issue such orders in aid of consummation of the Plan and this Order,
                                                   28                 notwithstanding any otherwise applicable nonbankruptcy law, with respect to any

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                                                    1                  person or entity, to the full extent authorized by the Bankruptcy Code or
                                                                       Bankruptcy Rules.
                                                    2
                                                               If this Court abstains from exercising jurisdiction, or is without jurisdiction, over any
                                                    3
                                                        matter, this section will not effect, control, prohibit, or limit the exercise of jurisdiction by any
                                                    4
                                                        other court that has jurisdiction over that matter.
                                                    5
                                                               S.      United States Trustee Fee and Reports
                                                    6

                                                    7          All fees payable pursuant to 28 U.S.C. § 1930 prior to the Effective Date, to the extent

                                                    8   they are not paid prior to the Effective Date, shall be paid by the Debtor on the Effective Date.

                                                    9   Debtor shall pay fees that accrue under 28 U.S.C. § 1930 after the Effective Date until a final

                                                   10   decree is entered in the Case or this Court otherwise orders. From and after the Effective Date,

                                                   11   Debtor shall file all Quarterly Reports and serve the Quarterly Report on the U.S. Trustee.
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                                                   12          T.      Successors and Assigns
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                                                   13          The rights, benefits and obligations of any entity named or referred to in the Plan are
                                                   14   binding on, and will inure to the benefit of, any permitted heirs, executors, administrators,
                                                   15   successors or assigns of such entity.
                                                   16          U.      Post-Confirmation Effectiveness of Proofs of Claim
                                                   17          Proofs of Claim shall, upon the Effective Date, represent only the right to participate in
                                                   18   the Distributions contemplated by the Plan and otherwise shall have no force or effect.
                                                   19          V.      Pre-Confirmation Injunctions or Stays
                                                   20
                                                               Unless otherwise provided in the Plan, all injunctions or stays arising under or entered
                                                   21
                                                        during the Case pursuant to §§ 105 and 362 of the Bankruptcy Code, or otherwise, and in
                                                   22
                                                        existence on the date of this Order, will remain in full force and effect until the Effective Date.
                                                   23

                                                   24                                                   ####

                                                   25

                                                   26 Date: August 19, 2015
                                                   27

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